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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

EVERGREEN POWER LLC and                        :      CIVIL ACTION No.
ASNAT REALTY, LLC                                     :    3:12-CV-00032 (SRU)
                                                      :
                        Plaintiffs,                   :
                                                      :
                 v.                                   :
                                                      :
THE UNITED ILLUMINATING COMPANY                       :
                                                      :
                        Defendants.                   :    AUGUST 2, 2013

                           MOTION FOR LEAVE TO WITHDRAW

        Pursuant to L.Civ.R. Rule 7(e), the undersigned respectfully move for leave to withdraw

as counsel for the Plaintiffs, Evergreen Power LLC and ASNAT Realty, LLC. Good cause

supporting withdrawal is based upon the following:

1.      Withdrawal can be accomplished without material adverse effect on the interests of the

Plaintiffs in that:

        a.       By way of joint motion, discovery deadlines for the Motion for Summary Judgment

and the filing of the Motions for Summary Judgments have been extended to October 25, 2013

and December 17, 2013, respectively, in order to provide time for settlement discussions to

proceed;

        b.       Subsequent to the extension of the deadlines, corporate counsel for the Plaintiffs,

Attorney Sheldon Schorer, became involved in the representation of the Plaintiffs and further

participated in the settlement discussions; and

        c.       There are no other upcoming deadlines which Plaintiffs must comply with that may

be missed as a result of Plaintiffs’ retention of new local counsel in addition to Attorney Schorer.
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2.      Further representation by the undersigned will result in an unreasonable financial burden

and has been rendered unreasonably difficult by the Plaintiffs.

3.      The Plaintiffs failed substantially to fulfill obligations to the undersigned regarding their

services and have been given reasonable warning that the undersigned will withdraw unless the

obligation is fulfilled.

4.      On July 23, 2013, notice of intention to withdraw was sent to the Plaintiffs, care of manager

Mehboob Shah, via certified mail, return receipt requested (“Notice”).

5.      The Notice advised the Plaintiffs of the possible consequence of failing to engage successor

counsel and provided advance notice of the anticipated withdrawal date. A copy of the Notice is

attached hereto as “Exhibit A.”

6.      Notice was sent to both the address on file with the undersigned and the address reported

on the Connecticut Secretary of State Online Recording Division records (“C.O.N.C.O.R.D.”). A

copy of the C.O.N.C.O.R.D. report is attached hereto as “Exhibit B.”

7.      As indicated on Exhibit A, the Notice was also sent, via electronic mail, to Attorney

Schorer, attached hereto as “Exhibit C.”

8.      A copy of the return receipts and delivery status via the USPS website tracking system are

attached hereto as “Exhibit D.”

        WHEREFORE, based upon the foregoing, the undersigned respectfully request that they

be permitted to withdraw.

                                              Respectfully Submitted,

                                              BY:           /s/ Kirsten A. Jensen           e
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                                        CERTIFICATION OF SERVICE

         I hereby certify that, on this 2nd day of August, 2013, a copy of the foregoing Motion for

Leave to Withdraw was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system or by mail to anyone unable to accept electronic filing as indicated

on the Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF

System.


                                                                    /s/ Kirsten A. Jensen   e




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